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                     I THE UNITED STATES DISTRICT
                   FOR THE EASTERN DISTRICT OF TEXAE
                               LUFKIN DIVISION

                                                      By
   OESSE PAUL SKI ER,                 X
             Plaintiff
                                                      0£puty
                                      X
   v.                                     ORDER TO SHOW CAi
                                      X PRELIMINARY INJUNCTION and
   BRYAN COLLIER ET AL,                   TEMPORARY RESTRAI I G ORDER
                 Defendeants          X Civil Action No . 9 :18-CV-139


             Upon the complaint,the supporting affidavit of complaint,

   and me orandu of lam submitted heremith,it is;
             ORDERED ,,that defendants Bryan Collier,Matt Gross,Billy
   Le is,Bruce Dohnson,Kenneth Hutto,Dames Kent,Black Norman,George

   Dansky.Dr, Krystel Hohenbrink,Samuel Dominey,Cora Sims,and the

   Texas Department of Criminal Justice, sho             cause in roo
   of the United States Courthouse,U.S.D.C. Eastern District of

   Texas 10      orth Third Street,Lufkin,Texas 75901, on the day

   of , 2 0 , at o'clock, mhy a preliminary injunction

   and temporary restraining order should not issue pursuant to
   65(a),(b) of the Federal Rule of Civil Procedure enjoining the
   defendants,their successors in office , agents, and employees and

   all other persons acting in concert and participation          ith them,

   f rom ;
             1). Harassing or Retaliation against the Plaintiff,

   Jesse P . Skinner,TDCJ# 599362,for pursuing or exercising his right

   to file complaints through the (TDCJ-CID) grievance procedure and
   right to Access to Courts under the First,Eighth,and Fourteenth
   Amendments of the Constitution.

              2). Mistreatment of PIaintiff,Jesse P.Skinner,TDCJ # 59936 ,

   through threats,unauthorized/i11ega 1 denail of privileges,and
   entitlements as an American mith Disabilities under the

   Americans mith Disabiliti s',Act/Rehabilitation Act,under the

   Eighth and Fourteenth Amend ent of the Constitution.

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              Immediate and Irreparable Injury,loss or da age mill
   result if the Court does not grant a preliminary injunction

   and/or a temporary restraining order under Rule 65(a),(b).

              IT IS FURTHER ORDERED, that effective immediately,
   and pending the hearing and determination of this order to

   Show Cause, the defendants Dequille Reed,Bruce Dohnson,Ba es

   Kent,Kenneth Hutto,Bohn Stubblefield,Mihael Broun,Stacy Drosche,
   and Bustin McKnight,Alvin Perry,and each of their officers,

   agents,employees,and all persons acting in concert or participation

   with them,are restrained from Harassing or Retaliation, and
   Mistreatment of Plaintiff for exercising his right to access to
   courts. Unauthorized/illegal denial of privileges,entitlements

   under the A erican with Disabilities Act/Rehabilitation Act.

              IT IS FURTHER ORDERED, that the order to Show Cause,and
   all other papers attached to this app1ication,be served on the

   aforesaid Plaintiffs by date: .




   BUDGE


   Date;
   United States District Budge




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                  PLAINTIFF'S MEMORA DUM IN SUPPORT OF
                  MOTIO FOR PRELIMI ARY INJUNCTION AND
                       TEMPORARY RESTRAINING ORDER


               Plaintiff asks the Court to grant a motion for a

    preli inary injunction and temporary restraining order
    against Defendants.Pursuant to Rule 65(a)(b) Federal Rule

    of Civil Procedure.

               1) . Plaintiff sued defendants for Unconstitutional
    Conditions of Confinement for Extreme Heat Temperatures,

    Extreme Cold Temperatures,Inadequate Food,Inadequate Laundry,

    Unsanitary Showers and Housing Faci1ities,Inadequate Lighting,
    and Failure to Accommodate Plaintiff's Medical Disabilities
    under the Americans           ith Disabilities Act/Rehabilitation Act,

    Retaliation For Exercising the right to Access to Courts,and

    Equal Protection Uiolations.

               2) . PI aintiff,Jesse Paul Skinner,pro se, alleges that
    the Defendants (Listed) in Skinner V.Collier et al,and all

    defendants listed herein; John Stubblefield.Captain,Michael

    Bro n.Sgt,Stacy Drosche,Office,Kenneth Ragland.Lt , Justin
    Mcknight . Sgt , and Alvin Perry.Sgt are subjecting the Plaintiff
    at the (TDCJ) Eastham Unit ( ith a chronic edical condition)
    to Unconstitutionally dangerous conditions,and Retaliation

    for exercising his constitutional right to access to courts.
               3) . Plaintiff's attached (Declaration) proves the

    allegations in the application for preliminary injunction and

    temporary restraining order for relief are attached and in¬

    corporated by reference.

                                  I. ARGUMENTS
               4) . Plaintiff   ill suffer immediate and irreparable

    injury if defendants are not immediately restrained from

    (Retaliating) against Plaintiff through (Housing Changes)
    forcing Plaintiff to (Carry) his (Property) against his


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    (Medical Disabi1ities)and assigning Plaintiff to (Housing)
    that are Harmful and a serious (Risk) of (Har ) to Plaintiff's

    health and safety through their retaliation . Rui z l/.Estelle,

    679 F.2d 1115 (5th cir 1982);and Danvey V. Alquire,6 7 F.3d,
    585,595 ( 5th cir 2011 );Calhoun V. Hargone,312 F.3d 730 ( 5th
    cir 2002).
      a) . The defendants are retaliting against Plaintiff for

      filing a section 1983 claim for unconstitutional conditions
      of confinement,and for filing grievances is a protected

      conduct under the First Amendment of the Constitution.

      b) . What the prison agents,employees,and defendants are
      doing to (Plaintiff) is a "adverse action" was so bad that

      it   ould stop an average person from continuing their suit.

      c) . There is a causual connection to (Prison Officials)

      retaliation against Plaintiff was directly related to my
      access to court and the filing of (TDCj) grievances, a

      protected conduct,under the First Amendment.

              5). There is a substantial likelihood that Plaintiff
    will prevail on the merits. The Eighth Amendment imposes on
    prison officials the duty to provide humane conditions of

    confinement, including adequate food,c1othing,she11er , and

    medical care. Farmer V. Brennan, 511 U.S. 825,832, 114 S.ct
    1970 (1994). Also, Brown V.Bargery, 207 F.3d 863 (6th cir 2000)
    of failure to accommodate disabled (Prisoner's) disabilities;

    Also see, Bibbs V.Early, 541 F.3d 267 (5th cir 008)that
    prisoners should not be sub ected to extreme heat or cold
    temperatures .

               6) . The threatened harm to Plaintiff outweighs the

    harm a tempoaray restraining ¦ order would inflict on defendants.

    Ruze, 679 F.2d at 1117.
               7) . The Court shuold not require security from the

    Plaintiff because the Plaintiff is indigent seeking to

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    vendicate Constitutional rights. Therefore, no bond should
    be required of Plaintiff. See, Kaepa In, V. Achilles Corp,

    76 F.3d 624,628 (5th cir 1996)( in holding that the amount
    of security required to Rule 65(c) is a matter for the
    discretion of the trial court,me have ruled that the court

    may elect to require no security at all).

               8) . The court should enter this temporary restraining
    order without notice to defendants because Plaintiff will

    suffer immediate and irreparable injury , loss,or damage if

    the TRO is not granted before defendants can be heard,see,

    Ruiz V. Estelle, 550 F.2d 238,239 (5th cir 1977) concluding
    that the Plaintiff had been subjected to threats,intimidation ,

    coercion,punishment,and discrimination , all in the face of

    protective order to the contrary by the district court.id.
    Notice     ould be i practical or impossible to protect plaintiff's
    interests, See Federal Rule of Civil Procedure 65(b).

               9) . Plaintiff asks the court to set the request

    for a preliminary injunction for hearing at the earliest

    possible time .
                             II. CO CLUSION
               Plaintiff prays that this Honorable Court grant a

    Preliminary Injunction and Temporary Restraining Order against
    (All) defendants listed in this application. To (Stop) any
    further (Retaliation) and (The Failure To Accommodate Plaintiff's

    Medical Disabilities) for Exercising His Right To Access To




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                      IN THE U ITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEX S FOR
                                LUFKIN DIVISION


   OESSE PAUL SKI NER,                 X
                  Plainmtiff,
                                       X
   V.                                    DECLARATION OF
                                       X OESSE PAUL SKI ER
   BRYAN COLLIER ET AL                     CIVIL ACTION 9:18-CV-139
                  Defendants           X


              OESSE PAUL SKINNER,DECLARE:

              I have been incarcerated at the Texas Department of
   Cri inal Oustice Correctional Institutional Division (TDCO-CID),

   since 1991, and assigned to the Eastham Unit since 1999.

   On Duly 31 ,2018,1 filed a Conditions of Confinement Suit against
   all defendants in Skinner V. Collier et al,seeking relief from
   Unconstitutional Conditions of Extreme Heat Temperatures, E treme

   Cold Temperatures,Food Service,Laundry Services,Unsanitary

   Shouiers,and Housing Facilities,Inadequate Lighting,and failure
   to accommodate Plaintiff's Disabilities under the Americans

   with Disabilities Act/Rehabilitation Act,Retaliation,and

   Equal Protection Violations.

              1) . After exercising my right to access to court,Duly
   31 ,2010, I have been moved from one housing location to another

   six (6) times or more by (Defendants) their agents and employees

   out of retaliation and an act to harm (Plaintiff) for pursuing

   his Constitutional Rights under the First,Eighth,and Fourteenth
   Amendment of the Constitution.

              2) . The defendants through having me moved from one

   housing to another,in which,is al ays to three (3) row,have
   caused me to reinjure my right and left shoulders in uries,

   fro   having to carry my (property) up and down stairs,as a

   person with medical disabilities of        o-Lifting 0ver- 0 Pounds

   through retaliation for exercising my rights to access to court.



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              3) . The defendants further cause me harm by palcing me
  in cells where I have to Stare my property above y head and

   shoulder,is irreparable harm to my medical disabilities of No

   Reaching Over Shoulders because of my shoulder injuries.
   On October 23,201 8,PI aintiff received another ove-slip from
   defendants from M-1ine-3-15-b to P-1ine- -8-b,as a (Chronic

   Patient) with medical disabilities of No-Lifting Over -20

   pounds,and after receiving shoulder surgery on October 2,2018,
   and in possessiong of a active medical pass for No Stranuous

   Activities or Heavy Lifting,or Gripping, I       ere denied the

   assistance of a (Buggy or Help) to transport my property that
   weigh 200 lb, to my ne      housing location by Capt Oohn
   Stubblefield,Sgt.Mithael Brown,and Officer Stacy Drosche ,that

   caused me to rein ure my right and left shoulders.

               ) . If no preliminary injunction or temporary restraining
   order is issued by this Court, "Immediate and Irreparable Injury,
   loss or damage will result" if the Defendants Billy Lewis.LJarden,

   Kenneth Rag1 and.Lt,0ustin HcKnight.Sgt,Al in Perry.Sgt are

   allowed to continue to force Plaintiff to carry his prperty up
   and down stairs wearing (only) boxers and sho er shoes during

   this procedure,as a disabled individual , wi11 result in serious

   irreparable injury to Plaintiff.


   Plaintiff filed the initial complaint against these defendants

   Oune , 018,in which,TDC0 had not responded in grievance No.

   201B143333,when plaintiff filed the original complaint for
   retaliation against all parties on Duly 31, 018.The original
   complaint is in the process of being (Amended) to add these

   defendants to Skinner V. Collier et al 9:18-CV-139 Conditions

   of Confinement.


   The (TDC3) Eastham Facility is once again on lock-down for it's

   annual shake-down procedure and Plaintiff will be forced to

   carry his prop erty up and down stairs wearing boxers and

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  shower shoes (an unsafe act) of placing Plaintiff's health
  and safety at serious (Risk) of (Harm) will result in irreparable

  harm to Plaintiff through defendant's failure to accommodate

   Plaintiff's disabilities of No-Lifting-0ver-20-Pounds and           o

   Re a chin g - 0 v e r - Shoul de r s .



              5) . The defendants should not have to receive notice

   because they received notice through the filing of Plaintiff's

   co plaints through the (Prison's) grievance procedure. And
   Plaintiff also seeks a Tempoaray Restraining Order under

   Rule 65(b)(1)(A) of the Federal Rule of Civil Procedure.
   Plaintiff's declaration clearly show facts that immediate

   and irreparable injury,loss or damage will continue to the
   movant before the adverse party can be heard in opposition.




                                  UNSWORN DECLARATION
    8 U.S.C.A §1746, I declare under penalty of purjury that
                                                    this
         foregoing are true and correct . Executed on    / day
                                                      this  day of
                                                                of
         November 2018. In that this and all documents were served

         on the clerk of the Eastern Di




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   Mr.Desse P.Skinner
   TDCD # 599362/Eastham
   2665 Prison Rd.#1
   Love1 ady,Texas 75851



   November 9, 018


   United States district Court
   Eastern District of Texas
   104 North Third Street
   Lufkin,Texas 75901


   RE: SKINNER M . COLLIER ET AL Case No. 9:1B-CU-139,Motion
       For Preliminary Injunction and Restraining Order:

   Dear Clerk ,

       Please find Plaintiff's Motion for Preliminary
   Injunction and Tempoaray Restraining Order enclosed.

   Please infor    Plaintiff of any mo ement in this action
   as soon as possible.



   I thank you for your time and attention.
   I await your response. I Remain.




                         pro se



   cc/jps/apl

   enclosures
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. esse P.Skinner
CD# 599362/Eastham
65 Prison Rd.#1
velady,Texas 75B51




                                                           Eastern Dis ric    ef Texas
                                                           10 North Third Street
                                                           Lufkin,Texas 75901
